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            EXHIBIT 2
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 5   Walnut Creek, CA 94596
 6   Telephone: (510) 590-9500
     Facsimile: (510) 590-9595
 7
     Attorneys for Defendant
 8   CROSBY VALVE, LLC

 9                               UNITED STATES DISTRICT COURT

10                           NORTHERN DISTRICT OF CALIFORNIA

11
     DENNIS HALE and LORA HALE,                     Case No.:
12
                   Plaintiffs,                      Superior Court Case No.:   CGC-21-276981
13
            vs.
14                                                  DECLARATION OF
     AIR & LIQUID SYSTEMS CORP.,                    CHRISTOPHER P. HERFEL
15   individually and as successor-in-interest to
     Buffalo Pumps, Inc.; ALFA LAVAL INC.,
16   f/k/a The DeLaval Separator Company;
     ARMSTRONG INTERNATIONAL, INC.;
17   BW/IP, INC.; CBS CORPORATION, a
     Delaware Corporation, f/k/a Viacom Inc.,
18   Successor by Merger to CBS Corporation, a
     Pennsylvania Corporation, f/k/a
19   Westinghouse Electric Corporation;
     CLARK-RELIANCE CORPORATION, as
20   successor-in-interest to Jerguson Gauge and
     Valve; CRANE CO., individually and as
21   successor-in-interest to Stockham Valves &
     Fittings Company, Chapman Valve Mfg.
22   Co. and Alloy Steel Products Co.;
     CROSBY VALVE, INC.; CUMMINS
23   INC.; ELLIOT COMPANY;
     FLOWSERVE US, Inc., as successor-in-
24   interest to Durametallic Corporation;
     FLOWSERVE US, INC., as successor-in-
25   interest to Edward Vogt Valve Co., Vogt
     Valve Company, Edward Valves, Inc.,
26   Nordstrom Audco, Inc., Nordstrom Valves,
     Inc., Rockwell Manufacturing Co.; FMC
27   CORPORATION, individually and as
     successor-in-interest to Peerless Pump,
28   Turbo Pump Operation, and Chicago Pump;

                                            1
                           DECLARATION OF CHRISTOPHER P. HERFEL
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 1   FOSTER WHEELER LLC. f/k/a Foster
     Wheeler USA Corporation; GARDNER
 2   DENVER, INC., individually and as
     successor-in-interest to Joy Manufacturing
 3   Co.; GENERAL ELECTRIC COMPANY;
     IMO INDUSTRIES INC.; ITT LLC, f/k/a
 4   ITT, INC., f/k/a ITT CORPORATION,
     individually and as successor-in-interest to
 5   Bell & Gossett, Kennedy Valve
     Manufacturing Co., McDonnell & Miller,
 6   Fabri-Valve, Hoffman Specialty
     Manufacturing Co.; JOHN-CRANE, INC.,
 7   individually and as successor-in-interest to
     CRANE PACKING COMPANY; KAISER
 8   GYPSUM COMPANY, INC.; MUELLER
     STEAM SPECIALTY; NAVISTAR,.INC.;
 9   PACCAR, INC.; PARKER HANNIFIN
     CORPORATION, individually and as
10   successor-in interest to Sacomo-Sierra,
     Parker Seal Company; and Rockwell
11   Mechanical Packing; SERVICE
     ENGINEERING CO.; STERLING FLUID
12   SYSTEMS (USA) LLC, dba and
     individually and as successor-in-interest to
13   PEERLESS PUMP COMPANY and
     INDIAN HEAD, INC.; THE GOODYEAR
14   TIRE & RUBBER COMPANY; THE
     WILLIAM POWELL COMPANY;
15   TRIPLE A MACHINE SHOP, INC.;
     VELAN VALVE CORP.; VIKING PUMP,
16   INC.; VOLVO TRUCKS NORTH
     AMERICA, INC.; WARREN PUMPS
17   LLC, individually and as successor-in-
     interest to WARREN PUMPS, INC.; WEIR
18   VALVES & CONTROLS USA, INC. f/k/a
     ATWOOD & MORRILL; WELCO
19   MANUFACTURING COMPANY; and
     DOES 1-500;
20
                     Defendants.
21

22          I, CHRISTOPHER P. HERFEL, declare under the penalty of perjury that the following

23   facts are true and correct.

24          1.       I am over the age of 18 and make this declaration based on information and belief

25   and I am competent to testify on the matters contained herein.

26          2.       Attached as Exhibit 1 is a true and correct copy of my curriculum vitae, which

27   details my educational background, work history and qualifications. My formal education includes

28   a Bachelor of Science degree from the U.S. Merchant Marine Academy, Kings Point, New York,
                                              2
                             DECLARATION OF CHRISTOPHER P. HERFEL
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 1   in Marine Engineering with a minor in Shipyard Engineering Management. In 2004, I received a
 2   Master of Business Administration (MBA) from Loyola University Maryland. I also currently hold
 3   a Third Assistant Engineer’s License, Steam & Diesel Propulsion, Unlimited Horsepower, issued
 4   by the U.S. Coast Guard.
 5          3.      During my junior year at the Merchant Marine Academy, I was selected to pursue
 6   specialization in shipbuilding and ship repairs entitled, “Shipyard Engineering Management.” In
 7   addition to completing the required curriculum in Marine Engineering, I was required to take a
 8   unique subset of academic courses that focused specifically on the ship construction and ship repair
 9   industry. This included classes in advanced naval architecture, process and workflow operations,
10   marine economics, critical path methodology scheduling, ship construction techniques and
11   advanced welding and metallurgy theory. A yearlong capstone project was also required by this
12   minor, in which I recreated the shipyard overhaul and repair availability of a U.S. Navy ship from
13   preliminary planning through final sea trials. Additionally, between my junior and senior years, I
14   completed a six-week-long internship with a ship repair activity overseeing the overhaul of USS
15   Supply (AOE 6).
16          4.      After graduating from the Merchant Marine Academy, 1 served as an Officer in the
17   United States Naval Reserve for eight years, obtaining the rank of Lieutenant. I was designated as
18   a Marine Engineer (1675 designator) and was assigned to the United States Naval Reserve,
19   Merchant Marine Ready Reserve (USNR MMR). During my Naval Reserve career, I gained
20   valuable experience and expertise in maintenance, upkeep, activation, and deactivation of U.S.
21   Navy and merchant ships located in Ready Reserve Fleet. Additionally, while assigned to Active
22   Duty Training, I successfully completed the National Sealift Training Program for Engineers
23   training course. During this training, students received advanced training in shipboard systems and
24   typical problems that occur while activating and maintaining Reserve Operating Status (ROS) 4
25   and ROS 5 ships as well as Ready Reserve Fleet (RRF) 10, 20 and 30 ships. During Active Duty
26   Training, I also successfully completed several U.S. Navy correspondence training courses which
27   focused on ship maintenance and repairs, marine engineering economics, and management of time
28   and cost in shipbuilding projects.
                                             3
                            DECLARATION OF CHRISTOPHER P. HERFEL
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 1          5.      I am currently the President/CEO of McCaffery & Associates, Inc., a firm that
 2   specializes in the research and analysis of U.S. Navy, Coast Guard and other federal government
 3   agency documents, records, plans, photographs and publications regarding ship design,
 4   construction, maintenance, repair and conversion. In addition, the firm also provides research and
 5   analysis of similar records and documents regarding naval and merchant marine personnel training,
 6   government contracting and purchasing, personnel safety and health, use of asbestos on naval
 7   ships, government specifications for the use of asbestos on naval ships and knowledge of the
 8   federal government and Navy concerning the hazards of asbestos.
 9          6.      Prior to joining McCaffery & Associates, I was employed by Baltimore Marine
10   Industries (BMI), a full-service (ship construction and ship repair) shipyard located at Sparrows
11   Point, Maryland. Since I had a degree in Marine Engineering with specialization in Shipyard
12   Engineering Management, I was placed immediately into the shipyard’s management training
13   program. Referred to as a “Loop Training Program,” I spent approximately half a year working in
14   nearly every shipyard production shop and engineering support group. With my diverse training
15   background in all aspects of shipyard production, I quickly became a Junior Ship Superintendent
16   and later a Ship Superintendent, responsible for managing all aspects of a ship overhaul and repair
17   contract. Since Baltimore Marine Industries was a full-service shipyard, I gained valuable
18   experience in ship construction, ship repair, ship conversion, fabrication of industrial products,
19   and ship recycling.
20          7.      During new construction I helped manage the construction planning, material
21   ordering and engineering for the construction of four new double-hull oil barges. Later, I moved
22   to the production department where I supervised shipfitters, burners, chippers, and welders who
23   were constructing and welding barge units. Work under my supervision was inspected by
24   regulatory bodies (U.S. Coast Guard and American Bureau of Shipping (ABS)) inspectors and
25   required my coordination. I gained valuable experience in constructing, scheduling, and ship
26   construction sequencing.
27          8.      I managed the repair of approximately 100 ships during my employment. Ships
28   repaired included U.S. Navy ships, merchant ships both (U.S. and foreign owned) as well as
                                             4
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 1   merchant type ships owned by the U.S. Navy Military Sealift Command (MSC) and Maritime
 2   Administration (MARAD). During ship repair contracts, I learned the intricate details associated
 3   with drydocking, repairing, and overhauling a diversity of ship types. I also coordinated with port
 4   engineers, owner’s representatives, and U.S. Navy surveyors (Supervisor of Shipbuilding,
 5   Conversion, and Repair (SUPSHIP)) daily. Finally, I negotiated change orders, credits, and work
 6   packages with owner’s representatives.
 7          9.      I also managed the activation of several Maritime Administration cargo ships in
 8   various levels of readiness, which were mothballed in the National Defense Reserve Fleet (NDRF).
 9   These ships were all under dehumidification to preserve machinery, piping, and steel structures.
10   Since I am a Licensed Third Assistant Engineer, I supervised the “activation crew” which included
11   machinists, pipefitters, and electricians. The activation crew assembled and tested piping systems
12   and valves which were opened and drained during deactivation. Additionally, machinery and
13   equipment, including boilers, turbines, pumps, distillers, generators, air compressors, refrigeration
14   and air conditioning compressors, and sewage treatment systems were assembled, tested, and put
15   back into operational condition. Once shipboard systems were operational and tested during dock
16   trials, the ship was required to leave the pier and perform a 24-hour sea trial to prove that the
17   mechanical systems were operating properly. Upon successful completion, I supervised the
18   deactivation team, who disassembled the piping, machinery and equipment so that the vessel could
19   be deactivated and returned to the National Defense Reserve Fleet.
20          10.     I was involved in the initial stages of managing the Naval Shipbreaking Program
21   and have overseen the successful scrapping of nine former U.S. Navy vessels built during the
22   1950s. To safely scrap these vessels, I needed to have an intimate knowledge of shipbuilding
23   material. This included identifying and abating all toxic materials on board these vessels, mainly
24   asbestos, lead, and polychlorinated biphenyls (PCB’s), before the scrapping could commence. I
25   gained valuable experience with and knowledge of OSHA rules, regulations, and laws governing
26   work with and around potentially hazardous materials. I also coordinated with industrial
27   hygienists, safety professionals and personnel who were removing friable and non-friable
28   asbestos-containing materials to ensure that abatement was being done in accordance with
                                             5
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 1   applicable rules, regulations, and policies.
 2          11.     I also worked as production manager for the Joint Modular Lighterage System
 3   (JMLS) demonstration program, the precursor to the Improved Navy Lighterage System (INLS)
 4   currently used by the Navy and Army to move equipment and supplies from ship to ship and from
 5   ship to shore. Most (75 percent) of this $20 million government contract was fulfilled at the
 6   Baltimore Marine Industries facility. I gained valuable knowledge and experience working with
 7   Department of Defense contracting personnel during this multi-year- long contract.
 8          12.     Through my education, training and work experience, I have developed expertise
 9   regarding U.S. Navy ship design, development, maintenance, construction and repair, including
10   U.S. Navy and Military specifications; the level of control and supervision exercised by the U.S.
11   Navy over the design, manufacture and installation of equipment and machinery aboard a U.S.
12   Navy vessel; the use of asbestos on U.S. Navy ships and in shipyards; and publications by the
13   United States government and the Navy concerning asbestos hazards. My experience has involved
14   performing many years of research on these issues, and I have researched and reviewed documents
15   at several National Archives and Records Administration facilities and other libraries and
16   document repositories.
17          13.     That I have read the Complaint filed by the Plaintiffs, DENNIS HALE and LORA
18   HALE, and am informed accordingly that Plaintiffs have alleged that during the course of DENNIS
19   HALE’s service in the United States Navy from 1960-1983, he was exposed to and inhaled
20   asbestos fibers emanating from certain products he was working with and around, including
21   products which were manufactured, sold, distributed or installed by the Defendant Crosby Valve,
22   LLC, hereinafter Crosby Valve.
23          14.     Crosby Valve did manufacture and supply some boiler safety valves installed on
24   board some but not all U.S. Navy ships.
25          15.     Boiler safety valves approved for use on board U.S. Navy ships must strictly
26   comply with reasonably precise specifications in the form of Military Specifications and/or the
27   military approval process. The only specification applicable to boiler safety valves approved for
28   use on board the U.S. Navy ships on which Mr. Hale served were constructed in accordance with
                                             6
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 1   Military Specification MIL-V-17462.
 2          16.     Numerous Military, Federal, and Commercial Specifications, Standards, and
 3   Drawings are incorporated by reference into Military Specification MIL-V-17462. Adherence to
 4   these specifications is part of the contractual obligations between the contractor and the U.S. Navy.
 5   Accordingly, all materials used in ship procurement are subject to a thorough review by the U.S.
 6   Navy and specifically approved for use by the U.S. Navy.
 7          17.     Before a manufacturer such as Crosby Valve received authorization to
 8   manufacturer or supply machinery, such as boiler safety valves, for/to the U.S. Navy, all of the
 9   drawings, plans, technical manuals and other design documentation first had to be inspected and
10   approved by the U.S. Navy. To the extent that any piece of equipment supplied by Crosby Valve
11   contained or incorporated asbestos, it would have been specifically required or approved by the
12   Navy through Military Specifications and/or the design approval process.
13          18.     U.S. Military inspectors and engineers frequently reside at a manufacturer’s plant
14   to personally oversee, inspect, and approve the work performed by the manufacturer. The
15   inspectors were empowered to observe the manufacturing process, test component parts and the
16   finished assembly, accept qualified units or reject any defective units. If, at any point, any material,
17   feature or component failed to comply with the applicable U.S. Military Specifications or
18   performance requirements, then it was rejected by the inspectors on behalf of their military service.
19   The on-site inspectors had detailed prints and drawings of every part used in the manufacturing
20   and construction. It should be noted that acceptance by the U.S. Navy of the material shows that it
21   was manufactured in complete conformance with the applicable specification.
22          19.     The selection of thermal insulation material used aboard Navy ships was delegated
23   by the Navy to the overall ship designer and/or the shipyard which built or repaired the ship.
24   Installation of thermal insulation products was done by the shipyard which built or repaired the
25   ship. Both ship designers and shipyards were required to make their selections in accordance with
26   Navy specifications and Military Standards and their selection and installation of thermal
27   insulation materials was subject to review and approval by the Navy in similar fashion to the
28   specification, review and approval process for machinery. Therefore, if any thermal insulation
                                              7
                             DECLARATION OF CHRISTOPHER P. HERFEL
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 1   material, whether or not asbestos-containing, was used in conjunction with any equipment
 2   manufactured and/or supplied by Crosby Valve for use on a U.S. Naval vessel, then use of that
 3   insulation was specifically reviewed and approved by the Navy as being in compliance with
 4   applicable Navy standards and Military Specifications.
 5          20.       If a boiler safety valve manufactured by Crosby Valve was actually installed on
 6   board any of the U.S. ships on which Mr. Hale served, then that valve, and the material composition
 7   of the valve components complied with precise specifications, standards, and design requirements
 8   that the Navy required for such a component. If such a component contained asbestos, then the
 9   Navy required and approved the inclusion of asbestos in that component in one form or another.
10          21.       In 1943 the U.S. Navy, which at that time included the U.S. Coast Guard, and the
11   U.S. Maritime Commission, predecessor to the U.S. Maritime Administration, published
12   Minimum Requirements for Industrial Safety and Health in Contract Shipyards. Among the
13   industrial diseases specifically identified in this publication was Asbestosis. General
14   recommendations were also provided of methods to prevent shipyard workers from contracting
15   this disease. Before publishing this document and distributing it to every shipyard in the United
16   States, Philip Drinker, Ph. D., the Chief Health Consultant to the U.S. Maritime Commission’s
17   Division of Shipyard Labor Relations, along with a team to assist him, toured every major shipyard
18   on the East Coast, Gulf Coast, West Coast and Great Lakes to see how asbestos-containing
19   insulation and lagging were handled and installed. After each visit, he left behind specific
20   instructions to the shipyard on how to improve their protection of its employees with regards to
21   asbestos dust.
22          22.       The health effects of asbestos dust on shipyard workers was studied during World
23   War II by Dr. Drinker and his team several times. Asbestos-related studies were also conducted
24   by the U.S. Navy, state health departments, and shipyard medical / industrial hygiene personnel.
25   The ultimate result of these studies, all of which took place aboard ships being constructed for the
26   U.S. Navy, was A Health Survey of Pipe Covering Operations in Constructing Naval Vessels,
27   better known as the Fleisher-Drinker Report. In subsequent years, U.S. Navy industrial hygienists
28   and other medical personnel assigned to Naval Shipyards studied asbestos dust creation and its
                                              8
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 1   effects on shipyard workers. The Fleisher- Drinker report was the peer reviewed scientific standard
 2   on shipyard asbestos diseases until other studies were published in the mid-1960s, including those
 3   of William T. Marr (Long Beach Naval Shipyard) and Carl A. Mangold / Daniel J. Bessemer
 4   (Puget Sound Naval Shipyard).
 5          23.      The U.S. Government, through the Armed Forces and other entities, was and
 6   remains, one of the world’s largest heavy industrial concerns. Every day for over 100 years,
 7   thermal insulation materials, gaskets, and packing have been removed, fabricated, and installed by
 8   shipyards and ship repair facilities owned by the United States. In the early 1940s, the U.S. Navy’s
 9   Bureau of Medicine and Surgery initiated its own industrial hygiene program to provide greater
10   protection for its uniformed and civilian workforce from the effects of chronic exposure to
11   asbestos. The U. S. Navy’s Bureau of Medicine and Surgery has continued and expanded its
12   Industrial Hygiene mission through the present day. As a result of these programs from the 1940s
13   up to the present day, the United States Government as a whole, including the U.S. Navy,
14   developed and acquired state-of-the-art knowledge concerning potential risks or hazards relating
15   to work with or around a multitude of products and materials, including those which contained
16   asbestos. It is inconceivable that a component manufacturer, such as Crosby Valve, would have
17   had the same level of sophisticated knowledge as the U.S. Navy concerning potential asbestos
18   hazards. In fact, the United States Government, including the U.S. Navy, specifically possessed
19   information and knowledge superior to that of its contractors on issues of asbestos-related
20   industrial hygiene associated with the use of asbestos-containing components or materials in naval
21   and merchant marine vessels.
22          24.      The “Occupational Health Hazards” bulletins in Exhibit 2 demonstrate that as of
23   1958, the Navy identified inhalation of “asbestos dust” as a potential occupational health hazard.
24   See “Occupational Health Hazards: Release No. 18” (for periods July-September 1958), p. 97, in
25   Exhibit 2. The bulletins further chronical the Navy’s efforts to collect data for evaluating the
26   potential exposure of its personnel and develop workplace controls to minimize the potential for
27   exposure to asbestos dust. For example, Exhibit 2 states:
28                a. “We are attempting to maintain a continuous health educational program for our
                                             9
                            DECLARATION OF CHRISTOPHER P. HERFEL
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 1   asbestos workers. The shop has been most cooperative in this effort. The file, “The Air We
 2   Breath” [sic], was obtained from MSA and shown on four occasions to small groups of
 3   these employees. This educational movie was followed by a short discussion of the hazards
 4   of breathing asbestos fibers and the use of dust respirators Release No. 22 (for periods July-
 5   September 1959), p. 179
 6      b. “In general, it is concluded that while cutting and installing insulation block and
 7   when ripping out old insulation, the dust counts usually exceed the safe concentration,
 8   assuming all the dust to be asbestos. When installing asbestos cloth and prefabricated
 9   insulation, the dust counts generally are within acceptable limits. It has been recommended
10   that pipe coverers and insulators performing dusty jobs be required to wear dust respirators.
11   In some cases, it may be feasible to wet down the insulating material before the work is
12   begun, to reduce dust formation.” Release No. 27 (for periods October-December 1960),
13   p. 88
14           c.     “1. Asbestos Dust. Survey was completed of pipe covering and insulation
15   section. The survey included layout and cutting, molding operations, and sewing of boots
16   and jackets. The layout and cutting are the dustiest operations in the shop. During the
17   handling and unrolling of the asbestos, considerable dust is generated, but appears to settle
18   rapidly. During the layout and cutting, a fine water spray is used for wetting down. Once
19   the asbestos is wetted, the cutting causes very little dust. In addition to this control,
20   ventilation is proved for the operation. Total dust count after wetting and cutting was 2.
21   million particles/cubic foot.
22                  2. Asbestosis. In 1958, a study was begun on pipecoverers (asbestos)
23   working conditions. Chest x-rays and vital capacity test were conducted on asbestos
24   workers. At that time, we had one former employee receiving compensation for asbestosis.
25   According to NCPI 792, pipecoverers are to receive a chest x-ray annually. At LBNS it
26   was decided to give these employees a chest x-ray every six months…” Release No. 29
27   (for periods April-June 1961), p. 32
28           d.     “1. Asbestos - A study was conducted to obtain current data for evaluating
                                    10
                    DECLARATION OF CHRISTOPHER P. HERFEL
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        Case 3:22-cv-00853-TSH Document 1-2 Filed 02/09/22 Page 14 of 67




                                   CHRISTOPHER P. HERFEL


EDUCATION, TRAINING, LICENSES, AND PROFESSIONAL AFFILIATIONS

MBA, Loyola College of Maryland, Management & Finance, 2004
B.S., Marine Engineering, Minor in Engineering Management, United States Merchant Marine
       Academy, 1998
Third Assistant Engineer License, Steam & Diesel Propulsion, Unlimited Horsepower, U.S. Coast
       Guard
Trained Shipyard Competent Person, Confined Space & Marine Chemist Certification as defined
       in 29CFR1915.7(b)
Trained Welder, Electrode & MIG Procedures
Lieutenant, United States Naval Reserve
Member, Society of Naval and Marine Engineers (SNAME)
Member, American Society of Naval Engineers (ASNE)


UNIQUE OR SPECIAL QUALIFICATIONS

Mr. Herfel serves as Chief Executive Officer (CEO) of McCaffery & Associates, Inc., a maritime and
naval consulting firm that specializes in the research and analysis of U.S. Navy, Coast Guard and
other federal government agency documents, records, plans, photographs and publications
regarding ship design, construction, maintenance, repair and conversion. In addition, the firm also
provides research and analysis of similar records and documents regarding naval and merchant
marine personnel training, government contracting and purchasing, personnel safety and health,
use of asbestos on naval ships, government specifications for the use of asbestos on naval ships
and knowledge of the federal government and Navy concerning the hazards of asbestos and other
known toxic materials. A key client liaison, Mr. Herfel determines the most cost effective, efficient,
and timely means of meeting the research project needs. He directs the research team to locate
and analyze historical correspondence documents.

Depending on case specifics, correspondence between the Navy, Maritime Commission, shipyards,
design agents, and manufacturers is analyzed. After retrieving all the relevant documents, a
historical timeline of any Navy, merchant, or Coast Guard vessel is developed by Mr. Herfel. At
that point, a ship’s history is developed from initial design through shipyard construction, following
the vessel while in service and ending with the final disposition of the vessel. Additionally, he has
extensive knowledge regarding the historical use of asbestos in the Navy and Department of
Defense, knowledge of the hazards through the decades, and the implementation of asbestos-
related safety and industrial health standards, protocols, et cetera, from the 1930s through the
1980s.

Mr. Herfel combines his past experiences in shipyard operations, ship design, marine engineering,
naval policies, and employment working on U.S. Navy and merchant vessels to analyze and
interpret detailed correspondence, blueprints, specifications, and contracts. Mr. Herfel has
participated in the new construction of oil barges and the conversion, overhaul, and repair of more
than a hundred merchant and naval vessels. Ships repaired included U.S. Navy ships, merchant
ships (both U.S. and foreign owned) as well as U.S. Government owned ships operated by the U.S.
Navy Military Sealift Command (MSC) and Maritime Administration (MARAD). While executing ship


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             703 548 6144  e-mail: info@mccafferyassoc.com  www.mccafferyassoc.com
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repair contracts, he learned the intricate details associated with drydocking, repairing, and
overhauling diverse types of ships. He also coordinated with port engineers, owner's
representatives, and U.S. Navy surveyors (Supervisor of Shipbuilding, Conversion, and Repair
(SUPSHIP)) daily. Finally, he negotiated change orders, credits, and work packages with owner's
representatives.

Mr. Herfel was involved in the initial stages of managing the Naval Shipbreaking Program and has
overseen the successful scrapping of nine former U.S. Navy vessels built during the 1950s and
1960s. To safely scrap these vessels, he needed to have an intimate knowledge of shipbuilding
material. This included identifying and abating all toxic materials on board these vessels, mainly
asbestos, lead, and polychlorinated biphenyls (PCB's), before the scrapping could commence. He
gained valuable experience with and knowledge of OSHA rules, regulations, and laws associated
with working with and around potentially hazardous materials. He also coordinated with industrial
hygienists, safety professionals and personnel who were removing friable and non-friable
asbestos-containing materials to ensure abatement was being done in accordance with applicable
rules, regulations, and policies. His knowledge of the environmental impact of ship construction,
repair and scrapping have been used in cases involving groundwater and soil contamination.

WORK HISTORY

McCaffery and Associates, Inc.                                       September 2003 to present

Current Position Title: Chief Executive Officer (CEO)

Mr. Herfel manages and works with a team of current and former naval and maritime officers who
research naval and commercial ship design, construction, maintenance and repair records in
support of asbestos and toxic tort litigation. The majority of the work is conducted at the National
Archives or other libraries in the Washington, DC, metropolitan area. Research is done on original
correspondence files, microfilm, and original ship plans.

Through his education, training and work experience, he has developed an expertise regarding
U.S. Government and commercial ship design, development, maintenance, construction and repair,
including applicable ship building specifications; the level of control and supervision exercised by
the United States Government over the design, manufacture and installation of equipment and
machinery aboard United States Navy and merchant ships; the use of asbestos on United States
Navy and commercial ships and in shipyards; and publications by the United States government
and the Navy concerning asbestos hazards. This experience has enabled him to perform detailed
research and analysis of historical documents on these issues.

MWI Services, Inc.                                      July 2003 to September 2003

Mr. Herfel worked with a team of current and former naval and maritime officers who researched
naval and commercial ship design, construction, maintenance and repair records in support of
asbestos and toxic tort litigation. The majority of the work was conducted at the National Archives
and other archival libraries in the Washington, DC, metropolitan area.




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Baltimore Marine Industries                                           July 1998 to July 2003

Position Titles:   Project Manager, Ship Disposal Program (Final Position)
                   Project Manager, Ship Repair and Construction
                   Ship Superintendent, Ship Repair
                   Production Manager, Joint Modular Lighterage System
                   Welding and Fabrication Supervisor, Ship Repair
                   Machinery Supervisor, Ship Repair
                   Project Planner/Scheduler, Critical Path Methodology

During Mr. Herfel’s time at Baltimore Marine Industries he was involved with the new construction
of barges and industrial products, the repair and conversion of commercial vessels, and the
scrapping of former U.S. Navy vessels. Mr. Herfel held many positions of increasing responsibility
in the ship repair and construction field. Having shipboard engineering experience, Mr. Herfel also
frequently participated in the operation and troubleshooting of shipboard mechanical components.
Mr. Herfel successfully activated the engine room of several “Ready Reserve” vessels that were
laid up in the James River Reserve Fleet.

Mr. Herfel also served as production manager for the Joint Modular Lighterage System (JMLS)
demonstration program, the precursor to the Improved Navy Lighterage System (INLS) currently
used by the Navy and Army to move equipment and supplies from ship to ship and from ship to
shore. Most (75 percent) of this $20 million government contract was fulfilled at the Baltimore
Marine Industries facility.

Mr. Herfel developed an intimate knowledge of shipbuilding materials and techniques used on
many vessels while working for Baltimore Marine Industries. Mr. Herfel’s last position served was
as project manager responsible for the abatement, remediation, and scrapping of nine former U.S.
Navy vessels.

U.S. Naval Reserve                                                              1998 to 2006

Position Title: Lieutenant (Final Rank)

After graduating from the Merchant Marine Academy, Mr. Herfel served as an Officer in the United
States Naval Reserve for eight years, obtaining the rank of Lieutenant. He was designated as a
Marine Engineer (1675 designator) and was assigned to the United States Naval Reserve,
Merchant Marine Ready Reserve (USNR MMR). During his Naval Reserve career, he gained
valuable experience and expertise in maintenance, upkeep, activation, and deactivation of U.S.
Navy and merchant ships located in Ready Reserve Fleet. Mr. Herfel also gained valuable first
hand experience with the Navy/Federal Supply System. Additionally, while assigned to Active Duty
Training, he successfully completed the National Sealift Training Program for Engineers training
course. During this training, students received advanced training about shipboard systems and
typical problems that occur while activating and maintaining Reserve Operating Status (ROS) 4 and
ROS 5 ships as well as Ready Reserve Fleet (RRF) 10, 20 and 30 ships. During Active Duty
Training, he also successfully completed several U.S. Navy correspondence training courses which
focused on ship maintenance and repairs, marine engineering economics, and management of
time and cost in shipbuilding projects.




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U.S. Merchant Marine Academy                                                         1994 to 1998

Position Title: Midshipman/Cadet

The United States Merchant Marine Academy is a federal service academy known for its rigorous
academic program. USMMA required more credit hours for a baccalaureate degree than any other
federal service academy. This course load is supplemented by “Sea Year.” While a Midshipman
at the U.S. Merchant Marine Academy at Kings Point, Mr. Herfel sailed during his Sea Year on
various commercial and former U.S. Navy vessels, outfitted with both steam and diesel propulsion
plants. As an engineering cadet, Mr. Herfel participated in the daily maintenance and operation
of the engineering plants of these ships. Mr. Herfel worked with superheated boilers of 1,200 psi,
diesel engines of 35,000 shaft horsepower, turbines, generators, purifiers, compressors and other
critical shipboard components.

Mr. Herfel graduated from the United States Merchant Marine Academy in 1998 with a Bachelor
of Science degree in Marine Engineering with a minor certificate in Shipyard Engineering
Management. This major required Mr. Herfel to take many specialized marine and naval courses,
including courses that specialized in: marine engineering, marine steam, diesel, and gas turbine
plants, electrical engineering, marine refrigeration, material sciences, welding, other specialized
classes. For his minor, he was required to take a unique subset of academic courses that focused
specifically on the ship construction and ship repair industry, including classes in advanced naval
architecture, process and workflow operations, marine economics, critical path methodology
scheduling, ship construction and repair techniques, and advanced welding and metallurgy theory.
A year long capstone project was also required for his minor certificate, during which he recreated
the shipyard overhaul and repair availability of a U.S. Navy ship from preliminary planning through
sea trials. Mr. Herfel incorporated real-life experiences into this project that he gained during a six-
week-long internship, where he participated in the overhaul of USS Supply (AOE 6).

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